         Case
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1    JESS R. MARCHESE, ESQ.
     Nevada bar # 8175
2
     601 S. Las Vegas Boulevard
3    Las Vegas, NV 89101
     (702) 385-5377 Fax (702) 474-4210
4    Attorney for Defendant – CARLOS PACHECO-TUT
5

6
                                 UNITED STATES DISTRICT COURT
7
                                      DISTRICT OF NEVADA
                                             ***
8

9    UNITED STATES OF AMERICA,           )                   2:14-CR-202-JAD (GWF)
                                         )
10                                       )
11
                 Plaintiff,              )
                                         )
12   v.                                  )
                                         )
13
     CARLOS PACHECO-TUT,                 )
14                                       )
                 Defendant.              )
15   ____________________________________)
16
                   STIPULATION AND ORDER TO CONTINUE SENTENCING
17

18
            IT IS HEREBY STIPULATED AND AGREED by and between JESS R. MARCHESE,

19
     ESQ. Counsel for Defendant CARLOS PACHECO-TUT and AMBER CRAIG, Assistant United

20
     States Attorney, that sentencing currently scheduled for May 6, 2015 at 10:00 a.m., be vacated

21
     and reset to a date and time convenient to the court.

22
            This Stipulation is entered into for the following reasons:

23           1. Counsel for the defendant has spoken to his client and he has no objection to the
24               request for continuance.
25
             2. Counsel for the defendant has spoken to counsel for the United States and she has no
26
                 objection to the continuance.
27

28           3. Counsel for the defendant has a scheduling conflict on that date and time.


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        Case
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                                                                         44



1         This is the second request for continuance filed herein.
2
                 DATED: May 2, 2015
3

4

5           /S/                                       /S/
     JESS R MARCHESE, ESQ.                      AMBER CRAIG, ESQ.
6    601 S. LAS VEGAS BLVD.                     ASSISTANT UNITED STATES ATTORNEY
7
     LAS VEGAS, NEVADA 89101                    333 LAS VEGAS BOULEVARD SOUTH. #5000
     ATTORNEY FOR THE DEFENDANT                 LAS VEGAS, NEVADA 89101
8

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         Case
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4    Attorney for Defendant – CARLOS PACHECO-TUT
5

6
                                       UNITED STATES DISTRICT COURT
7
                                            DISTRICT OF NEVADA
                                                    ***
8

9    UNITED STATES OF AMERICA,           )                 2:14-CR-202-JAD (GWF)
                                         )
10                                       )
11
                 Plaintiff,              )
                                         )
12   v.                                  )
                                         )
13
     CARLOS PACHECO-TUT,                 )
14                                       )
                 Defendant.              )
15   ____________________________________)
16

17                                          FINDINGS OF FACT
18           Based on the pending Stipulation of counsel, and good cause appearing therefore, the
19   Court finds:
20          This Stipulation is entered into for the following reasons:

21           1. Counsel for defendant has spoken to his client and he has no objection to the request
22
                    for continuance.
23
             2. Counsel for defendant has spoken to United States’ counsel and she has no objection
24
                    to the continuance.
25

26           3. Counsel for the defendant has a scheduling conflict on that day.

27          This is the second request for continuance filed herein.
28


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          Case
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1                                          CONCLUSIONS OF LAW
2
                Denial of this request for continuance would deny the parties herein the opportunity
3
     to effectively and thoroughly prepare for trial.
4
                Additionally, denial of this request for continuance could result in a miscarriage of
5
     Justice.
6

7
                                                     ORDER
8

9
                IT IS HEREBY ORDERED that the sentencing currently scheduled for May 6, 2014, at
10
                                 Tuesday, May
     10:00 a.m., be continued to the       day of__________________________,    2015_
                                               19, 2015, at 10:00 a.m. in Courtroom #6D.at
11
     _ , in courtroom __.
12

13
                           6th dayday
                DATED this ______  of May,  2015.
                                      of _____________________, 2015.
14

15
                                                      ________________________________________
16                                                    U.S. DISTRICT JUDGE

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